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 5                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF WASHINGTON
 6
 7     In re:                                        Case No. 18-03197 FPC 7

 8     GIGA WATT, Inc., a Washington                 The Honorable Frederick P. Corbit
       corporation,
                      Debtor.                        Chapter 7
 9
                                                     CHAPTER 7 TRUSTEE’S
10                                                   MOTION TO LIMIT NOTICE OF
                                                     FIRST INTERIM CHAPTER 7
11                                                   FEE APPLICATION OF THE
                                                     POTOMAC LAW GROUP PLLC
12                                                   (OCTOBER 1, 2020 – JANUARY
                                                     29, 2021)
13
14              Mark D. Waldron, in his capacity as the duly-appointed Chapter 7 Trustee,

15     hereby moves (the “Motion”) the Court for entry of an Order, in the form attached

16     hereto as Exhibit A, permitting limited notice of the First Interim Chapter 7 Fee

17     Application of the Potomac Law Group PLLC (October 1, 2020 – January 29,

18     2021) (the “PLG First Interim Fee Application”).

19              This Court has jurisdiction over this Motion under 28 U.S.C. §§157 and

20     1334. This Motion raises a core matter. 28 U.S.C. §157(b)(2)(A).

21              Rule 2002(a)(6) of the Federal Rules of Bankruptcy Procedure (“BR”)

22     requires 21-days’ notice of the Application. See also L.B.R. 2016-1 (requiring

23     service on 21-days’ notice to the Master Mailing List). However, BR 2002(m)
       Motion to Limit Notice of
24     PLG Fee Application - P a g e | 1
25
     18-03197-FPC7      Doc 864   Filed 03/10/21   Entered 03/10/21 14:54:11   Pg 1 of 3
 1     permits the Court to enter orders designating the manner and scope of notice.
 2     Further, L.B.R. 2002-1(b)(1)(B) allows “less inclusive notice . . . if not prohibited

 3     by the Code or Rules and specifically allowed by the Court or local rules.” This
 4     local rule also states, “Notice is appropriate if it reaches all those with a potential
 5     good faith objection to the proposed order or action.” L.B.R. 2002-1(b)(1)(B).

 6           The Master Mailing Matrix for this case includes 414 mailable addresses.
 7     Photocopying and postage expenses as well as other expenses associated with
 8     such large mailings would be extremely burdensome and costly to the estate.

 9     Furthermore, the PLG First Interim Fee Application is interim and subject to final
10     review where all creditors, may be given notice. Therefore, the Trustee requests
11     that notice of the PLG First Interim Fee Application and of this Motion, in

12     substantially the form attached hereto as Exhibit B, be sent only to the following
13     parties (the “Limited Mailing List”): (i) the United States Trustees Office; (ii)
14     David Carlson, the Debtor’s director; (iii) Andrey Kuzenny, who signed the
15     petition and schedules on the Debtor’s behalf; (iv) holders of allowed Chapter 11
16     administrative claims; (v) holders of the ten largest trade claims; (vi) holders of
17     the ten largest token and miner claims. All parties registered with the ECF system
18     will receive notice electronically. The Limited Mailing List includes all those with
19     a potential good faith objection to the PLG First Interim Fee Application.
20           WHEREFORE, the Trustee requests entry of an Order:
21           1.      Granting this Motion in its entirety;
22
23
       Motion to Limit Notice of
24     PLG Fee Application - P a g e | 2
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     18-03197-FPC7     Doc 864    Filed 03/10/21   Entered 03/10/21 14:54:11     Pg 2 of 3
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18-03197-FPC7   Doc 864   Filed 03/10/21   Entered 03/10/21 14:54:11   Pg 3 of 3
